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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                               Eastern Division

Alarm Detection Systems, Inc.
                                                Plaintiff,
v.                                                           Case No.: 1:14−cv−00876
                                                             Honorable Thomas M. Durkin
Bloomingdale Fire Protection District, et al.
                                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, April 1, 2015:


        MINUTE entry before the Honorable Thomas M. Durkin:Defendant Lemont Fire
Protection District's motion to dismiss [97] is denied as moot. Plaintiff's agreed motion for
dismissal of defendant Lemont Fire Protection District is granted. [211] Defendant
Lemont Fire Protection District is hereby dismissed with prejudice. Lemont Fire
Protection District terminated.No appearance required on 4/7/15. Mailed notice(srn, )




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